            CaseApplication
   AO 106A (08/18) 2:21-mj-03869-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    08/19/21
                                                                                    Means           Page 1 of 44 Page ID #:1


                                            UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________

                        In the Matter of the Search of                        )
              (Briefly describe the property to be searched or identify the   )
                              person by name and address)                     )      Case No. 2:21-MJ-03869
                                                                              )
       2017 blue Honda Civic, bearing California license plate:
                                                                              )
       8TEA232
                                                                              )
                                                                              )
                                                                              )
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-3
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                             Offense Description
          18 U.S.C § 2251                                                     Production and Attempted Production of Child
                                                                              Pornography
          18 U.S.C. § 2252A(a)(2)                                             Distribution or Receipt of Child Pornography
          18 U.S.C. § 2252A(a)(5)(B)                                          Possession of Child Pornography

             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                    ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     Applicant’s signature

                                                                                      HSI Special Agent Derek R. Baker
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                     Judge’s signature

City and state: Los Angeles, CA                                                      Honorable Alka Sagar, U.S. Magistrate Judge
                                                                                                     Printed name and title

AUSA: Lara x0427
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 2 of 44 Page ID #:2



                            ATTACHMENT A-3

VEHICLE TO BE SEARCHED

     The vehicle to be searched is identified as a 2017 blue

Honda Civic, bearing California license plate 8TEA232, (the

“SUBJECT VEHICLE”), with vehicle identification number

2HGFC2E50HH535839 and registered to Steve Jackson RODRIGUEZ at

the SUBJECT PREMISES.    The SUBJECT VEHICLE includes any portion

of the SUBJECT VEHICLE, including the trunk, back seat, under

the seats, and any bags, containers, digital devices or other

item that can contain additional items that are located in the

SUBJECT VEHICLE, provided that the SUBJECT VEHICLE is located

within the Central District of California at the time of the

search.




                                      iii
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 3 of 44 Page ID #:3



                              ATTACHMENT B

ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. § 2251

(production and/or attempted production of child pornography),

18 U.S.C. § 2252A(a)(2) (distribution or receipt of child

pornography), and 18 U.S.C. § 2252A(a)(5)(B) (possession of

child pornography) (the “SUBJECT OFFENSES”), namely:

          a.    Child pornography, as defined in 18 U.S.C.

§ 2256(8).

          b.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer to child pornography, as defined in 18 U.S.C.

§ 2256(8), including but not limited to documents that refer to

the possession, receipt, distribution, transmission,

reproduction, viewing, sharing, purchase, or downloading,

production, shipment, order, requesting, trade, or transaction

of any kind, involving child pornography.

          c.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

and also including but not limited to financial records, tending

to identify persons involved in the possession, receipt,

distribution, transmission, reproduction, viewing, sharing,

purchase, or downloading, production, shipment, order,

requesting, trade, or transaction of any kind, involving child

pornography, as defined in 18 U.S.C. § 2256.




                                      iv
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 4 of 44 Page ID #:4



          d.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer or relate to any production, receipt, shipment,

order, request, trade, purchase, or transaction of any kind

involving the transmission through interstate commerce by any

means, including by computer, of any visual depiction of a minor

engaged in sexually explicit conduct, as defined in 18 U.S.C.

§ 2256.

          e.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

identifying persons transmitting in interstate commerce,

including by computer, any visual depiction of a minor engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

          f.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that identify any minor visually depicted while engaging in

sexually explicit conduct, as defined in 18 U.S.C. § 2256.

          g.    Any and all records, documents, programs,

applications, materials, items, depictions, images, or videos of

children, even if not child pornography.

          h.    Any and all records, documents, programs,

applications, materials, items, depictions, images, or videos of

children, evidencing RODRIGUEZ’s access to children.

          i.    Any and all records, documents, programs,

applications, materials, items, depictions, images, or videos of

a colostomy bag, the use of a colostomy bag, or of a child who




                                       v
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 5 of 44 Page ID #:5



has any medical condition that may require the use of a

colostomy bag.

          j.     Any and all records, documents, programs,

applications, materials, items, depictions, images, videos, or

other evidence of MV #1.

          k.     Any and all records, documents, programs,

applications, or materials or items which are sexually arousing

to individuals who are interested in minors, but which are not

in and of themselves obscene or which do not necessarily depict

minors involved in sexually explicit conduct.        Such material is

commonly known as “child erotica” and includes written materials

dealing with child development, sex education, child

pornography, sexual abuse of children, incest, child

prostitution, missing children, investigative techniques of

child exploitation, sexual disorders, pedophilia, nudist

publications, diaries, and fantasy writings.

          l.     Any and all records, documents, programs,

applications, materials, items, images, or depictions of

underwear, lingerie, sex toys, or other items that are commonly

used in the sexual abuse of children.

          m.     Any records, documents, programs, applications,

or materials identifying possible minor victims depicted in

child pornography and/or minor victims of sexual abuse.

          n.     Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to peer-to-peer file sharing software.




                                      vi
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 6 of 44 Page ID #:6



          o.     Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to accounts with any Internet Service Provider.

          p.     Any records, documents, programs, applications,

materials, and files relating to IP addresses 47.149.10.108 and

47.149.20.114.

          q.     Records, documents, programs, applications,

materials, and files relating to the deletion, uploading, and/or

acquisition of victim files to include photographs, videos, e-

mails, chat logs, or other files.

          r.     Any digital device bearing electronic serial

number 089451725600202258.

          s.     Any digital device which is an LG G6.

          t.     Any records, documents, programs, applications,

materials, items, files, or products related to or could be used

in the production of images, videos, or other depictions of

child pornography.

          u.     Any records, documents, programs, applications,

materials, items, files, or products related to or could be used

in the production of images, videos, or items depicted in any of

the 18 images of child pornography found in the SUBJECT ACCOUNT.

          v.     Any digital device used to facilitate the above-

listed violations and forensic copies thereof.

          w.     Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the SUBJECT OFFENSES, and forensic copies thereof.




                                      vii
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 7 of 44 Page ID #:7



          x.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.    evidence of the times the device was used;

                vi.   passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;




                                     viii
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 8 of 44 Page ID #:8



                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

     3.   As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.



                                      ix
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 9 of 44 Page ID #:9



SEARCH PROCEDURE FOR DIGITAL DEVICES

     4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.




                                       x
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 10 of 44 Page ID #:10



                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques, including to search for known images of child

pornography.

           c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.



                                       xi
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 11 of 44 Page ID #:11



           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

      5.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

      6.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offenses listed above;




                                       xii
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 12 of 44 Page ID #:12



           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

      7.   During the execution of this search warrant, with

respect to RODRIGUEZ, who is located in the Central District of

California during the execution of the search and who is

reasonably believed by law enforcement to be a user of a

biometric sensor-enabled device that falls within the scope of

the warrant, law enforcement personnel are authorized to: (1)



                                      xiii
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 13 of 44 Page ID #:13



depress the thumb- and/or fingerprints of RODRIGUEZ onto the

fingerprint sensor of the device (only when the device has such

a sensor), and direct which specific finger(s) and/or thumb(s)

shall be depressed; and (2) hold the device in front of the face

of RODRIGUEZ with his eyes open to activate the facial-, iris-,

or retina-recognition feature, in order to gain access to the

contents of any such device.       In depressing RODRIGUEZ’s thumb or

finger onto a device and in holding a device in front of

RODRIGUEZ’s face, law enforcement may not use excessive force,

as defined in Graham v. Connor, 490 U.S. 386 (1989);
specifically, law enforcement may use no more than objectively

reasonable force in light of the facts and circumstances

confronting them.

      8.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




                                       xiv
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 14 of 44 Page ID #:14



                                AFFIDAVIT

I, Derek R. Baker, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

      1.   I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

and have been so employed since June 2018.

                        II. PURPOSE OF AFFIDAVIT
      2.   This affidavit is made in support of an application

for warrants to search the following:

           a.    1113 San Bernardino Avenue, Pomona, California

91767 (the “SUBJECT PREMISES”), as further described in

Attachment A-1; and,

           b.    The person of Steve Jackson Rodriguez

(“RODRIGUEZ”) date of birth is 03/25/1984, who appears to be a

Hispanic male, and is approximately 5 foot 8 inches tall, as

further described in Attachment A-2; and,

           c.    A 2017 blue Honda Civic bearing California

license plate 8TEA232 registered to RODRIGUEZ (the “SUBJECT

VEHICLE”), as further described in Attachment A-3.

      3.   As described further in Attachment B, the requested

warrants seek authorization to seize evidence, fruits, and

instrumentalities, of violations of 18 U.S.C. § 2251 (production

and/or attempted production of child pornography), 18 U.S.C.

§ 2252A(a)(2) (distribution or receipt of child pornography),

and 18 U.S.C. § 2252A(a)(5)(B) (possession of child pornography)
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 15 of 44 Page ID #:15



(collectively, the “SUBJECT OFFENSES”).        Attachments A-1, A-2,

A-3, and B are attached hereto and incorporated herein by

reference.

      4.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.
           III. BACKGROUND OF SPECIAL AGENT DEREK R. BAKER

      5.    I am currently assigned to the HSI Los Angeles Child

Exploitation Task Force, where I investigate criminal violations

relating to child exploitation and child pornography, illegal

production, distribution, receipt and possession of child

pornography, in violation of 18 U.S.C. §§ 2252A and the SUBJECT

OFFENSES.    I have received training in the area of child

pornography and child exploitation offenses and have observed

and reviewed various examples of child pornography in all forms

of media, including computer media.

      6.    I have participated in the execution of numerous

search warrants, many of which involved child exploitation

and/or child pornography offenses, including those relating to

subjects who use the Internet and two-way communication devices,

such as cellular telephones, to entice or coerce minors to



                                        2
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 16 of 44 Page ID #:16



engage in sexually explicit conduct.        I make this affidavit

based upon my personal knowledge and experience, my review of

pertinent documentation, and discussions with other law

enforcement officers.

      7.    Through both my training and my experience, I have

become familiar with the methods of operation used by people who

commit offenses involving the sexual exploitation of children.

I have attended training classes concerning computer crimes and

the sexual exploitation of children on the Internet.           This

training has given me an understanding of how people involved

with offenses relating to the sexual exploitation of children

use the Internet to further those offenses.         My experience in

investigations in this regard has supplemented my understanding

of how people involved in offenses related to the sexual

exploitation of children use the Internet to further those

offenses.
  IV. BACKGROUND ON CHILD EXPLOITATION OFFENSES, COMPUTERS, THE
                   INTERNET, AND DEFINITION OF TERMS

      8.    Based upon my training and experience in the

investigation of child pornography offenses, and information

related to me by other law enforcement officers involving the

investigation of child pornography offenses, I know the

following information about the use of computer with child

pornography:

            a.   Computers and Child Pornography.        Computers and

computer technology have revolutionized the way in which child

pornography is produced, distributed, and utilized.          Child




                                        3
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 17 of 44 Page ID #:17



pornographers can now produce both still and moving images

directly from a common video camera and can convert these images

into computer-readable formats.       The use of digital technology

has enabled child pornographers to electronically receive,

distribute, and possess large numbers of child exploitation

images and videos with other Internet users worldwide.

            b.     File Storage.   Computer users can choose their

method of storing files: either on a computer’s hard drive, an

external hard drive, a memory card, a USB thumb drive, a smart

phone or other digital media device, etc. (i.e., “locally”) or

on virtual servers accessible from any digital device with an

Internet connection (i.e., “cloud storage”).         Computer users

frequently transfer files from one location to another, such as

from a phone to a computer or from cloud storage to an external

hard drive.      Computer users also often create “backup,” or

duplicate, copies of their files.       In this way, digital child

pornography is extremely mobile and such digital files are

easily reproduced and transported.          For example, with the click

of a button, images and videos containing child pornography can

be put onto external hard drives small enough to fit onto a

keychain.    Just as easily, these files can be copied onto

compact disks and/or stored on mobile digital devices, such as

smart phones and tablets.      Furthermore, even if the actual child

pornography files are stored on a “cloud,” files stored in this

manner can only be accessed via a digital device.          Therefore,

viewing this child pornography would require a computer,




                                        4
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 18 of 44 Page ID #:18



smartphone, tablet, or some other digital device that allows the

user to access and view files on the Internet.

           c.    Internet.    The term “Internet” is defined as the

worldwide network of computers -- a noncommercial, self-

governing network devoted mostly to communication and research

with roughly 500 million users worldwide.         The Internet is not

an online service and has no real central hub.          It is a

collection of tens of thousands of computer networks, online

services, and single user components.        In order to access the

Internet, an individual computer user must use an access

provider, such as a university, employer, or commercial Internet

Service Provider(s) (“ISP(s)”), which operates a host computer

with direct access to the Internet.
           d.    Internet Service Providers.       Individuals and

businesses obtain access to the ISPs.        ISPs provide their

customers with access to the Internet using telephone or other

telecommunications lines; provide Internet e-mail accounts that

allow users to communicate with other Internet users by sending

and receiving electronic messages through the ISPs’ servers;

remotely store electronic files on their customer’s behalf; and

may provide other services unique to each particular ISP.           ISPs

maintain records pertaining to the individuals or businesses

that have subscriber accounts with them.         Those records often

include identifying and billing information, account access

information in the form of log files, e-mail transaction

information, posting information, account application




                                        5
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 19 of 44 Page ID #:19



information, and other information both in computer data and

written record format.

            e.    IP Addresses.    An Internet Protocol address (“IP

Address”) is a unique numeric address used to connect to the

Internet.    An IPv4 IP Address is a series of four numbers, each

in the range 0-255, separated by periods (e.g., 121.56.97.178).

In simple terms, one computer in a home may connect directly to

the Internet with an IP Address assigned by an ISP.          What is now

more typical is that one home may connect to the Internet using

multiple digital devices simultaneously, including laptops,

tablets, smart phones, smart televisions, and gaming systems, by

way of example.    Because the home subscriber typically only has

one Internet connection and is only assigned one IP Address at a

time by their ISP, multiple devices in a home are connected to

the Internet via a router or hub.       Internet activity from every

device attached to the router or hub is utilizing the same

external IP Address assigned by the ISP.         The router or hub

“routes” Internet traffic so that it reaches the proper device.

Most ISPs control a range of IP Addresses.         The IP Address for a

user may be relatively static, meaning it is assigned to the

same subscriber for long periods of time, or dynamic, meaning

that the IP Address is only assigned for the duration of that

online session.    Most ISPs maintain records of which subscriber

was assigned which IP Address during an online session.

            f.    IP Address – IPv6.    Due to the limited number of

available IPv4 IP addresses, a new protocol was established

using the hexadecimal system to increase the number of unique IP



                                        6
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 20 of 44 Page ID #:20



addresses.    An IPv6 consists of eight sets of combination of

four numbers 0-9 and/or letters A through F.         An example of an

IPv6 IP address is 2001:0db8:0000:0000:0000:ff00:0042:8329.

           g.    The following definitions:

                 i.    “Child erotica,” as used herein, means

materials or items that are sexually arousing to persons having

a sexual interest in minors but that are not necessarily obscene

or do not necessarily depict minors engaging in sexually

explicit conduct.

                 ii.   “Child pornography,” as defined in 18 U.S.C.

§ 2256(8), is any visual depiction, including any photograph,

film, video, picture, or computer or computer-generated image or

picture, whether made or produced by electronic, mechanical or

other means, of sexually explicit conduct, where: (a) the

production of the visual depiction involved the use of a minor

engaged in sexually explicit conduct; (b) the visual depiction

is a digital image, computer image, or computer-generated image

that is, or is indistinguishable from, that of a minor engaged

in sexually explicit conduct; or (c) the visual depiction has

been created, adapted, or modified to appear that an

identifiable minor is engaged in sexually explicit conduct.

                 iii. “Cloud-based storage,” as used herein, is a

form of digital data storage in which the digital data is stored

on remote servers hosted by a third party (as opposed to, for

example, on a user’s computer or other local storage device) and

is made available to users over a network, typically the

Internet. Users of such a service can share links and associated



                                        7
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 21 of 44 Page ID #:21



passwords to their stored files with other traders of child

pornography in order to grant access to their collections. Such

services allow individuals to easily access these files through

a wide variety of electronic devices such as desktop and laptop

computers, mobile phones, and tablets, anywhere and at any time.

An individual with the password to a file stored on a cloud-

based service does not need to be a user of the service to

access the file. Access is typically free and readily available

to anyone who has an Internet connection.

                 iv.   “Computer,” as used herein, refers to “an

electronic, magnetic, optical, electrochemical, or other high

speed data processing device performing logical or storage

functions, and includes any data storage facility or

communications facility directly related to or operating in

conjunction with such device” and includes smartphones, other

mobile phones, and other mobile devices. See 18 U.S.C.

§ 1030(e)(1).

                 v.    “Computer hardware,” as used herein,

consists of all equipment that can receive, capture, collect,

analyze, create, display, convert, store, conceal, or transmit

electronic, magnetic, or similar computer impulses or data.

Computer hardware includes any data-processing devices

(including central processing units, internal and peripheral

storage devices such as fixed disks, external hard drives,

“thumb,” “jump,” or “flash” drives, which are small devices that

are plugged into a port on the computer, and other memory

storage devices); peripheral input/output devices (including



                                        8
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 22 of 44 Page ID #:22



keyboards, printers, video display monitors, and related

communications devices such as cables and connections); as well

as any devices, mechanisms, or parts that can be used to

restrict access to computer hardware (including physical keys

and locks).

                 vi.   “Computer software,” as used herein, is

digital information which can be interpreted by a computer and

any of its related components to direct the way they work.

Computer software is stored in electronic, magnetic, or other

digital form. It commonly includes programs to run operating

systems, applications, and utilities.

                 vii. “Computer passwords and data security

devices,” as used herein, consist of information or items

designed to restrict access to or hide computer software,

documentation, or data. Data security devices may consist of

hardware, software, or other programming code. A password (a

string of alpha-numeric characters) usually operates what might

be termed a digital key to “unlock” particular data security

devices. Data security hardware may include encryption devices,

chips, and circuit boards. Data security software may include

programming code that creates “test” keys or “hot” keys, which

perform certain pre-set security functions when touched. Data

security software or code may also encrypt, compress, hide, or

“booby-trap” protected data to make it inaccessible or unusable,

as well as reverse the process to restore it.




                                        9
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 23 of 44 Page ID #:23



                 viii.        “Encryption” is the process of

converting data into a code in order to prevent unauthorized

access to the data.

                 ix.     The “Internet” is a global network of

computers and other electronic devices that communicate with

each other. Due to the structure of the Internet, connections

between devices on the Internet often cross state and

international borders, even when the devices communicating with

each other are in the same state.

                 x.      “Log files” are records automatically

produced by computer programs to document electronic events that

occur on computers. Computer programs can record a wide range of

events including remote access, file transfers, logon/logoff

times, and system errors. Logs are often named based on the

types of information they contain. For example, web logs contain

specific information about when a website was accessed by remote

computers; access logs list specific information about when a

computer was accessed from a remote location; and file transfer

logs list detailed information concerning files that are

remotely transferred.

                 xi.     “Minor,” as defined in 18 U.S.C. § 2256(1),

refers to any person under the age of eighteen years.

                 xii. “Mobile applications,” as used herein, are

small, specialized programs downloaded onto mobile devices that

enable users to perform a variety of functions, including

engaging in online chat, reading a book, or playing a.




                                       10
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 24 of 44 Page ID #:24



                 xiii.        “Records,” “documents,” and

“materials,” as used herein, include all information recorded in

any form, visual or aural, and by any means, whether in

handmade, photographic, mechanical, electrical, electronic, or

magnetic form.

                 xiv. “Sexually explicit conduct,” as defined in

18 U.S.C. § 2256(2), means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or

opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

masochistic abuse; or (e) lascivious exhibition of the anus,

genitals, or pubic area of any person.

                 xv.     A “storage medium” or “storage device” is

any physical object upon which computer data can be recorded.

Examples include hard disks, RAM, floppy disks, “thumb,” “jump,”

or “flash” drives, CD-ROMs, and other magnetic or optical media.

                 xvi. “Visual depiction,” as defined in 18 U.S.C.

§ 2256(5), includes undeveloped film and videotape, data stored

on computer disc or other electronic means which is capable of

conversion into a visual image, and data which is capable of

conversion into a visual image that has been transmitted by any

means, whether or not stored in a permanent format.

                 xvii.        A “Website” consists of textual pages

of information and associated graphic images. The textual

information is stored in a specific format known as Hyper-Text

Mark-up Language (HTML) and is transmitted from web servers to

various web clients via Hyper-Text Transport Protocol (HTTP).



                                       11
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 25 of 44 Page ID #:25



                     V. SUMMARY OF PROBABLE CAUSE

      9.    On or about July 12, 2021, I received information from

the National Center for Missing and Exploited Children (“NCMEC”)

regarding CyberTipline Report 94619315 (the “CyberTip”) which

identified a user who uploaded child pornography files using

their Google account.

      10.   The CyberTip contained the IP addresses captured by

Google at the time of login and during upload of the various

child pornography files.      The return of legal process show the

IP addresses resolved to the SUBJECT PREMISES.          Records show

RODRIGUEZ currently resides at the SUBJECT PREMISES.

      11.   On or about August 6, 2021, I obtained a federal

search warrant from the Honorable Maria A. Audero, in case

number 2:21-mj-3616, for RODRIGUEZ’s Google account primarily

based on the information obtained from the CyberTip and Google’s

log information.     Shortly thereafter, law enforcement executed

the 2:21-mj-3616 search warrant on RODRIGUEZ’s Google account

which showed that several child pornography files were in his

account and according to IP address information, those files

were uploaded from the SUBJECT PREMISES.         As set forth below in

more detail, I believe there is probable cause to search the

SUBJECT PREMISES, RODRIGUEZ’s person (the registered owner of

the SUBJECT ACCOUNT and the apparent resident of the SUBJECT

PREMISES), and RODRIGUEZ’s registered vehicle, the SUBJECT

VEHICLE, for evidence related to the SUBJECT OFFENSES.


                                       12
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 26 of 44 Page ID #:26



                    VI. STATEMENT OF PROBABLE CAUSE

      12.   I learned the following information from my review of

the CyberTip and information found from publicly available and

law enforcement databases:

      A.    Identification of the Account

      13.   On or about July 7, 2021, at approximately 3:32 a.m.

Universal Coordinated Time (“UTC”), NCMEC received information

from Google (the “PROVIDER”) reporting that 18 files containing

and/or associated with suspected child pornography were uploaded

by an individual using the account stevoevil22@gmail.com (the

“SUBJECT ACCOUNT”).     The PROVIDER provided NCMEC with basic

subscriber information for the SUBJECT ACCOUNT.

      14.   According to the PROVIDER, the subscriber of the

SUBJECT ACCOUNT is registered to “Steve Rodriguez,” registered

with phone number (626) 392-8852 (the “-8852 Number”), verified 1

on January 25, 2016, at 7:30 a.m. UTC.

      15.   The PROVIDER also indicated they had captured EXIF 2

data from two (2) of the 18 files.        The EXIF data captured by

the PROVIDER indicated both of the files were captured using an

LG Electronics device, model LG-LS993 (which is more commonly


     1 According to the PROVIDER, phone number(s) are provided by
the account holder. “Verified” indicates the account holder
responded to a request by the PROVIDER to confirm the phone
number is valid/correct.
     2 EXIF is abbreviated for exchangeable image file format,
which is data contained withing the file, and can contain
specific information about that file, including, but not limited
to, the camera make/model and date the file was created.


                                       13
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 27 of 44 Page ID #:27



known as a “G6”) and on the same date/time, which was January 1,

2018, at 4:09 a.m., however the exact time zone was not

indicated.     I know this information to mean the data contained

within the file is providing information that potentially help

in identifying the physical device which produced the child

pornography files.     This EXIF data for two of the files uploaded

into the SUBJECT ACCOUNT appears to match data from RODRIGUEZ’s

registered cellphone at the time.       These two still images appear

to depict a Caucasian female, approximately 5-9 years old (“MV

#1”).     MV #1’s face is clearly visible in the images, and she

appears to have a colostomy bag attached to her abdomen. 3

      16.   On or about August 17, 2021, I have reviewed at least

eight (8) videos stored on the SUBJECT ACCOUNT as obtained from

the PROVIDER, and they depict suspected child pornography as

defined in 18 U.S.C. § 2256.       During my review of the SUBJECT

ACCOUNT, I saw at least three (3) videos involving MV #1.           Two

of these videos appear to depict RODRIGUEZ engaging in oral




      3These two still images of MV #1 may contain child
pornography; however, the government is not relying on these two
images to establish probable cause that defendant possessed or
produced child pornography in the instant search warrant. The
government mentions these images and MV #1 to demonstrate that
there is independent probable cause to search a LG G6 cellphone
associated with RODRIGUEZ, which may have been used to capture
and/or store images or videos of child pornography or of minor
victims. These images will be referred to as (“IMAGE #1” and
“IMAGE #2”).


                                       14
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 28 of 44 Page ID #:28



copulation with what appears to be MV #1. 4        During two of the

videos of apparent child pornography, which I believe depicts

RODRIGUEZ performing oral sex on MV #1, you can see MV #1’s

colostomy bag in the video.

      17.   The PROVIDER included information in the CyberTip,

which showed the previous IP addresses captured at the time the

uploads occurred using the SUBJECT ACCOUNT.         I know this

information can show me where the user was physically located,

by address, when the user uploaded the child pornography files.

I know through my training and experience that when a person

engages in the SUBJECT OFFENSES, it typically occurs in a place

where the person can conceal their actions or conduct.

      18.   A search of publicly available and law enforcement

databases of “Steve Rodriguez” and the SUBJECT PREMISES

indicates that a 37-year-old “Steve Jackson Rodriguez” is

associated with the SUBJECT PERMISES.
      B.    Description of Additional Files Uploaded Using the
            Subject Account

      19.   In the CyberTip, the PROVIDER indicated 18 files

containing or associated with child pornography were uploaded

using the SUBJECT ACCOUNT.      The CyberTip also specifically

stated at least some of the uploaded child pornography files




      4I identified RODRIGUEZ based on a comparison with other
images contained in the SUBJECT ACCOUNT and his DMV photograph,
and I identified MV #1 based on a comparison of the victim in
IMAGE #1, IMAGE #2 and the two videos depicting RODRIGUEZ and MV
#1 mentioned above.


                                       15
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 29 of 44 Page ID #:29



“appear unfamiliar and may depict newly produced content,” which

can mean the files had not been previously identified to NCMEC.

      20.   I have reviewed the 15 files which had been previously

viewed by the PROVIDER, among others later provided from the

search of the SUBJECT ACCOUNT.       The following are descriptions

of two files that I have reviewed from the SUBJECT ACCOUNT which

depict suspected child pornography as defined in 18 U.S.C. §

2256:

            a.   “report_11626601965411693084.jpg” (“IMAGE #3”)

which is an image file and appears to depict a Caucasian female,

approximately 5-7 years old, laying on her back with her vagina

exposed while engaging in what appears to be anal sex with what

appears to be an adult male penis.

            b.   “report_14309050322603975612.jpg” (“IMAGE #4”)

which is an image file and appears to depict a Caucasian female,

approximately 4-6 years old, with her hand holding what appears

to be an adult male penis, which appears to be touching her

face.

      C.    Identification of the User

      21.   On or about July 12, 2021, I searched for and located

the following information using Accurint 5:

            a.   A search of the -8852 Number produced a result

for “Steve Rodriguez,” a full social security number ending in -

3105 (“RODRIGUEZ’s SS NUMBER”), and information that this person



      5A for-pay service which can help to identify people,
addresses, relatives, businesses, vehicles and other information
by providing a comprehensive database of public records.


                                       16
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 30 of 44 Page ID #:30



was associated with the SUBJECT PREMISES from March 2020 through

at least July 2020.

            b.   A search of RODRIGUEZ’s SS NUMBER showed

RODRIGUEZ’s birth date as March 25, 1984, and records indicated

that RODRIGUEZ’s SS NUMBER was associated with the SUBJECT

PREMISES from March 2020 through at least July 2021.

      22.   California Department of Motor Vehicles (“DMV”)

records for “Steve Rodriguez” with a birthdate March 25, 1984,

showed RODRIGUEZ is registered with the DMV with a current

registered address of the SUBJECT PREMISES since at least on or

about April 24, 2021.     DMV records also include an image of

RODRIGUEZ, which I have viewed.       RODGIRUGEZ appeared to be a

Hispanic male whom according to the record, is approximately

5’08” tall and weighs 158 pounds.       I and other law enforcement

officers who execute this search warrant will be able to

identify RODRIGUEZ in part based on this DMV photo which I and

others have viewed before we execute the warrant.

      23.   Using the information provided in the CyberTip, I

conducted further investigation into the SUBJECT ACCOUNT and

discovered the following:

            a.   IP address 47.149.10.108 (“SUBJECT IP ADDRESS

#1”) was the IP address captured at login (approximately July 4,

2021, at 10:16 p.m. UTC) and when the user of the SUBJECT

ACCOUNT uploaded IMAGE #1 (approximately December 6, 2020, at

9:07 p.m. UTC). Frontier Communications Corporation owns SUBJECT

IP ADDRESS #1.    On July 15, 2021, I received information from

Frontier Communications for SUBJECT IP ADDRESS #1 which showed



                                       17
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 31 of 44 Page ID #:31



that SUBJECT IP ADDRESS #1 was assigned to a Frontier

Communications account in RODRIGUEZ’s name on the relevant

dates.   The Frontier Communication account in RODRIGUEZ’s name

lists the SUBJECT PREMISES as the account address and the

SUBJECT ACCOUNT as its contact email address.

            b.   IP address

2607:fb90:21cb:8952:dcaf:31a8:8c79:f31f was the IP address

captured when the user uploaded IMAGE #2 (approximately June 21,

2020 at 6:15 p.m. UTC).      T-Mobile owns this IP address; however,

without certain identifying information not contained in the

CyberTip, I would be unable to determine the subscriber for this

IP address during the time of upload.

            c.   IP address 47.149.20.114 (“SUBJECT IP ADDRESS

#2”) was the IP address captured when the user uploaded IMAGE #3

(approximately May 28, 2020, at 7:56 p.m. UTC) and IMAGE #4

(approximately August 15, 2020, at 9:52 p.m. UTC).          On or about

July 22, 2021, I received information from Frontier

Communications for SUBJECT IP ADDRESS #2, which showed SUBJECT

IP ADDRESS #2 was assigned to a Frontier Communications account

in RODRIGUEZ’s name.     The Frontier Communication account in

RODRIGUEZ’s name lists the SUBJECT PREMISES as the account

address on the relevant dates.

            d.   According to a search of law enforcement and

public databases, T-Mobile is the phone provider for the -8852

Number, which is the mobile phone number registered with the

PROVIDER.




                                       18
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 32 of 44 Page ID #:32



                 i.    On or about July 22, 2021, I received

information from T-Mobile, which showed RODRIGUEZ’s billing

address was the SUBJECT PREMISES.       Additionally, T-Mobile

provided device information for the period indicated in the

captured EXIF data (January 1, 2018).

                 ii.   According to T-Mobile records, RODRIGUEZ

used a device with electronic serial number (“ESN”)

089451725600202258, which was used from April 10, 2017, through

May 5, 2019.

                 iii. I used a general Internet search for a

website that allows the status check of any ESN and saw the ESN

belonged to a LG G6.     According to the EXIF data provided by

NCMEC in the CyberTip, an LG G6 is make/model of device that

appears to have been used to create two of the suspected child

pornography files uploaded by the SUBJECT ACCOUNT.

            e.   On or about July 21, 2021, I received information
from the California Employment Development Department which

showed RODRIGUEZ had provided the SUBJECT PREMISES as his

address since July 24, 2018, and provided the -8852 Number as

his phone number.

      24.   On or about August 3, 2021, at approximately 12:00

p.m. local time, I arrived at the SUBJECT PREMISES and saw a

blue Honda Civic bearing California license plate 8TEA232 (the

“SUBJECT VEHICLE”) parked on the street directly in front of the




                                       19
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 33 of 44 Page ID #:33



SUBJECT PREMISES.     According to DMV information, this vehicle is

registered to RODRIGUEZ at the SUBJECT PREMSES.

      25.   On or about August 6, 2021, the Honorable Maria

Audero, United States Magistrate Judge in the Central District

of California signed the search warrant (21-mj-3616) for the

SUBJECT ACCOUNT.

      26.   On or about the same date, I served the PROVIDER with

the search warrant.     On or about August 11, 2021, the PROVIDER

produced files in response to the search warrant.

      27.   I reviewed some of the files produced by the PROVIDER.

The files I reviewed included additional child pornography files

uploaded to RODRIGUEZ’s account.       Additionally, I reviewed

videos contained within the SUBJECT ACCOUNT that appeared to

depict RODRIGUEZ, as I recognized him from the previously viewed

photograph retained by the DMV, and at least one video which

appeared to show a Hispanic male bearing a likeness to

RODRIGUEZ, in/around a blue Honda vehicle that appeared to match

the SUBJECT VEHICLE.

      28.   On or about August 18, 2021, from 6:00 a.m. through

approximately 11:30 a.m. local time, SA Paul Radlinski and I

conducted surveillance at the SUBJECT PREMISES and saw the

SUBJECT VEHICLE park in front of the SUBJECT PREMISES at

approximately 8:40 a.m.      Shortly thereafter, a Hispanic male I

recognized as RODRIGUEZ exited the driver’s seat, and enter the

front door after appearing to unlock it.         At approximately 11:30

a.m., RODRIGUEZ exited the SUBJECT PREMISES through the front

door, entered the SUBJECT VEHICLE, and left the area.



                                       20
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 34 of 44 Page ID #:34



VII. TRAINING & EXPERIENCE ON INDIVIDUALS WITH A SEXUAL INTEREST
                             IN CHILDREN

      29.   Based on my training and experience, and the training

and experience of other law enforcement officers with whom I

have had discussions, I have learned that individuals who view

and possess multiple images of child pornography are often

individuals who have a sexual interest in children and in images

of children, and that there are certain characteristics common

to such individuals:

            a.   Individuals who have a sexual interest in

children or images of children may receive sexual gratification,

stimulation, and satisfaction from contact with children; or

from fantasies they may have viewing children engaged in sexual

activity or in sexually suggestive poses, such as in person, in

photographs, or in other visual media, or from literature

describing such activity.      These individuals often maintain

possession of these items for long periods of time and keep

their collections in numerous places – in digital devices in

their homes, in their cars, in their workplaces, or on their

persons.

            b.   Individuals who have a sexual interest in

children or images of children also may correspond with and/or

meet others to share information and materials (including

through digital distribution via the Internet); conceal such

correspondence as they do their sexually explicit material; and

often maintain lists of names, addresses, and telephone numbers

of individuals with whom they have been in contact and who share




                                       21
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 35 of 44 Page ID #:35



the same interests in child pornography.         These individuals

often maintain possession of these items for long periods of

time.

      30.    If an individual produces an image of child

pornography on a digital device, law enforcement can often

obtain evidence of this production if they are to seize and

search the digital device itself, even if the image is no longer

stored on the digital device.

      31.     Digital child pornography on a digital device is easy

to maintain for long periods of time.        Modern digital devices

often have extremely large storage capacities.          Furthermore,

cheap and readily available storage devices, such as thumb

drives, external hard drives, and compact discs make it simple

for individuals with a sexual interest in children to download

child pornography from the Internet and save it – simply and

securely – so it can be accessed or viewed indefinitely.

      32.    Furthermore, even if a person deleted any images of

child pornography that may have been possessed or distributed,

there is still probable cause to believe that there will be

evidence of the illegal activities – that is, the possession,

receipt, and/or distribution of child pornography – at the

SUBJECT PREMISES, in the SUBJECT VEHICLE, or on RODRIGUEZ’s

person.     Based on my training and experience, as well as my

conversations with digital forensic experts, I know that

remnants of such files can be recovered months or years after

they have been deleted from a computer device.          Evidence that

child pornography files were downloaded and viewed can also be



                                       22
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 36 of 44 Page ID #:36



recovered, even after the files themselves have been deleted,

using forensic tools.     Because remnants of the possession,

distribution, and viewing of child pornography is recoverable

after long periods of time, searching the SUBJECT PREMISES,

SUBJECT VEHICLE, and RODRIGUEZ’s person could lead to evidence

of the child exploitation offenses.

                  VIII.       BACKGROUND ON CYBERTIPS

      33.   CyberTipline Report. NCMEC was established in 1984 as

a private, nonprofit 501(c)(3) organization.         NCMEC provides

services nationwide for families and professionals in the

prevention of abducted, endangered, and sexually exploited

children.   Pursuant to its mission and its congressional

authorization (see 42 U.S.C. § 5773), NCMEC operates the

CyberTipline and the Child Victim Identification Program to

assist law enforcement in identifying victims of child

pornography and child sexual exploitation.         NCMEC works with law

enforcement, Internet service providers, electronic payment

service providers, and others to reduce the distribution of

child sexual exploitation images and videos over the Internet.

NCMEC’s CyberTipline is the nation’s centralized reporting

system for the online exploitation of children.          The public and

electronic service providers can make reports of suspected

online enticement of children for sexual acts, extra-familial

child sexual molestation, child pornography, child sex tourism,

child sex trafficking, unsolicited obscene materials sent to a

child, misleading domain names, and misleading words or digital

images on the internet.      NCMEC does not investigate and cannot



                                       23
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 37 of 44 Page ID #:37



verify the accuracy of information reported to NCMEC.           NCMEC

forwards the reports of child sexual exploitation to law

enforcement for purposes of investigation and disposition of

potential criminal wrongdoing to be determined solely by the

relevant law enforcement agency and prosecutor's office.           As

part of the CyberTipline program, internet service providers

that identify suspected child exploitation material on their

systems may send a report to NCMEC.         The reports contain

information such as the account name, name, telephone number,

and ISP address associated with an individual who uploaded

suspected child exploitation material.         The CyberTipline reports

also indicate whether the provider viewed the suspected child

exploitation material.
                 IX. TRAINING & EXPERIENCE ON GOOGLE

      34.   Based on a review of information provided by Google

regarding its services, information provided by other law

enforcement officers, and/or my training and experience, I am

aware of the following:

            a.   Google provides numerous free services to users

with a Google account. These services include Gmail, Google

Drive, and Google Photos. Gmail is a web-based email service.

Google Drive is a file storage and synchronization service which

provides users with cloud storage, file sharing, and

collaborative editing.      Google Photos is an image hosting and

sharing web service that allows users with a Google account to




                                       24
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 38 of 44 Page ID #:38



store and share images for free.       The username for a Google

account is the email address linked to the account.

           b.    In my training and experience, I have learned

that providers of e-mail and/or social media services offer a

variety of online services to the public.         Subscribers obtain an

account by registering with Google.         In my training and

experience, e-mail and social media providers generally ask

their subscribers to provide certain personal identifying

information when registering for an e-mail or social media

account.   Such information can include the subscriber’s full

name, physical address, telephone numbers and other identifiers,

alternative e-mail addresses, and, for paying subscribers, means

and source of payment (including any credit or bank account

number).   In my training and experience, e-mail and social media

providers typically retain certain transactional information

about the creation and use of each account on their systems.

This information can include the date on which the account was

created, the length of service, records of login (i.e., session)

times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or

closed), the methods used to connect to the account (such as

logging into the account via the provider’s website), and other

log files that reflect usage of the account.

           c.    In addition, e-mail and social media providers

often have records of the Internet Protocol (“IP”) address used

to register the account and the IP addresses associated with

particular logins to the account.       Google will send



                                       25
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 39 of 44 Page ID #:39



verifications to a user in order to verify information the user

lists on their Google account.       The verification typically

involves a process in which the Electronic Service Provider

(“ESP”) sends an email, text message, or voice verification to

the phone number listed and verifies the information when the

subscriber responds to the ESP’s email, phone call or text

message.

            X. TRAINING & EXPERIENCE ON DIGITAL DEVICES 6

      35.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   A person who connects to the Internet must use a

computer or mobile device, such as a tablet or wireless

telephone, to facilitate that access.        Furthermore, in my

training and experience, these devices typically travel with a

subject or remain in SUBJECT PREMISES or in the subject’s

vehicle.    It is therefore reasonable to believe that computers,

tablets, wireless telephones, and other electronic storage media

may be present in SUBJECT PREMISES, on RODRIGUEZ’s person, or in

the SUBJECT VEHICLE.     Further, because it is possible to store


      6As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


                                       26
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 40 of 44 Page ID #:40



certain mobile devices, such as removable storage media and

wireless telephones, in a pocket, it is reasonable to believe

that mobile devices may be found on RODRIGUEZ’s person or in any

place a small item can fit.

           b.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           c.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat



                                       27
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 41 of 44 Page ID #:41



programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            d.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            e.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      36.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult



                                       28
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 42 of 44 Page ID #:42



to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      37.   The search warrant requests authorization to use the

biometric unlock features of the devices seized, based on the

following, which I know from my training, experience, and review

of publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the



                                       29
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 43 of 44 Page ID #:43



opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

            c.   As noted above, I know that most homes with

Internet capability use only one IP address.         That IP address,

in turn, is often shared by many devices that access the

Internet using a wireless modem.       Accordingly, if there are

multiple digital devices discovered during a search of the

SUBJECT PREMISES, any of those devices could have been used to

access the Internet and download the files discussed above.

            d.   Thus, if while executing the warrant, law

enforcement personnel encounter a digital device within the

scope of the warrant that may be unlocked using one of the

aforementioned biometric features, the warrant I am applying for

would permit law enforcement personnel to, with respect to

RODRIGUEZ, provided he is located in the Central District of

California during the execution of the search: (1) depress the

RODRIGUEZ’s thumb- and/or fingers on the device(s); and (2) hold

the device(s) in front of RODRIGUEZ’s face with his or her eyes

open to activate the facial-, iris-, and/or retina-recognition

feature.

      38.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                              XI. CONCLUSION

      39.   For all the reasons described above, there is probable

cause to believe to believe that evidence, fruits, and



                                       30
Case 2:21-mj-03869-DUTY Document 1 Filed 08/19/21 Page 44 of 44 Page ID #:44



instrumentalities of violations of 18 U.S.C. § 2252A(a)(2)

(distribution or receipt of child pornography), and 18 U.S.C.

§ 2252A(a)(5)(B) (possession of child pornography) as described

in Attachment B, will be found in a search of the SUBJECT

PREMISES, RODGRIGUEZ, and the SUBJECT VEHICLE.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
_________, 2021.



THE HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




                                       31
